               Case 2:18-cv-01094-GJP Document 2 Filed 06/08/18 Page 1 of 2



1    Todd M. Friedman (216752)
2    Cynthia Levin SBN 27050
     Law Offices of Todd M. Friedman, P.C.
3
     21550 Oxnard St., Suite 780
4    Woodland Hills, CA 91367
5
     Phone: 877-206-4741
     Fax: 866-633-0298
6    tfriedman@toddflaw.com
7    Attorney for Plaintiff
8
                           UNITED STATES DISTRICT COURT
9
                         EASTERN DISTRICT OF PENNSYLVANIA
10

11    MICHAEL SCAVO,                           ) Case No.
      individually and on behalf of all others )
12
      similarly situated,                         2:18-cv-01094-GJP
                                               )
13    Plaintiff,
                                               )
14
             vs.                               ) NOTICE OF SETTLEMENT
15                                             )
16    ATLANTIC RECOVERY                        )
      SOLUTIONS, LLC; DOES 1-10,               )
17
       inclusive,                              )
18    Defendant(s).                            )
19
            NOW COME THE PLAINTIFF by and through their attorneys to respectfully
20

21
     notify this Honorable Court that this case has settled. Plaintiff requests that this Honorable

22
     Court vacate all pending hearing dates and allow sixty (60) days with which to file

23   dispositive documentation. A Joint Stipulation of Dismissal will be forthcoming. This

24   Court shall retain jurisdiction over this matter until fully resolved.
25                         Respectfully submitted this June 8, 2018
26

27
                                                             By: /s/Cynthia Levin
                                                              Cynthia Levin ESQ.
28




                                           Notice of settlement - 1
              Case 2:18-cv-01094-GJP Document 2 Filed 06/08/18 Page 2 of 2



1

2
                              CERTIFICATE OF SERVICE
3

4
     Filed electronically on June 8 2018, with:
5

6
     United States District Court CM/ECF system

7    Notification sent electronically on June 8 2018, to:
8
     To the Honorable Court, all parties and their Counsel of Record
9

10   This 8th Day of June, 2018.
11
     By: /s/ Cynthia Levin
12
            Cynthia Levin, ESQ.
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                       Notice of settlement - 2
